Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 1 of 18




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   BETTY JEAN COLE, et al.,                             )
                                                        )
                    Plaintiffs,                         )
                                                        )
   vs.                                                  )          Case No.03-CV-327-GKF-PJC
                                                        )
   ASARCO INCORPORATED, et al.,                         )
                                                        )
                    Defendants.                         )


                                          OPINION AND ORDER

          This matter comes before the court on defendants’ Motion to Dismiss Plaintiffs’ Third

   Amended Complaint. [Doc. No. 300]. For the reasons set forth below, defendants’ motion is

   granted in part and denied in part.

                                   I. Background/Procedural Status

          Plaintiffs filed a putative class action complaint in this case on May 14, 2003, seeking

   medical monitoring, compensatory and punitive damages for the diminution in value of their

   properties, and injunctive relief in the form of a court-supervised relocation program, as a result

   of alleged contamination caused by defendants’ historic mining operations. [Doc. No. 1].

   On July 15, 2005, plaintiffs filed a Second Amended Complaint [Dkt. # 219]. Plaintiffs sought

   certification of a “Medical Monitoring Class” of “[a]ll individuals who, since [two years prior to

   filing date of initial suit], have resided on, or are presently residing on, property located in the

   Class Area for more than one year; who have been exposed to Defendants’ toxic materials; and

   who, as a result, face the onset of exposure related illness, including, but not limited to, renal

   disease, and other cognitive, behavioral, cardiovascular, reproductive, and neurological

   disorders,” and a “Property Owner Class” of “[a]ll individuals and entities who owned or had an
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 2 of 18




   interest in real property in the Class Area as of [date of initial filing of action].” [Dkt. # 219,

   ¶¶53, 55; see First Amended Complaint, Doc. No. 1, ¶¶52, 53].1 On April 2, 2009, this court

   denied plaintiffs’ Motion for Class Certification. [Doc. No. 290]. See 2009 U.S. Dist. LEXIS

   28177 (N.D. Okla. Apr. 2, 2009).

           At a status hearing held May 12, 2009, the court granted plaintiffs’ request to file another

   amended complaint in this matter. [See Doc. No. 292]. Plaintiffs filed their Third Amended

   Complaint on June 1, 2009. [Doc. No. 296].

                           II. Allegations of the Third Amended Complaint

           The Third Amended Complaint is brought on behalf of nearly 600 residential,

   commercial and governmental property owners in Picher and Cardin, Oklahoma, and

   surrounding areas within the Tar Creek Area, for compensatory and punitive damages for

   diminution in property values caused by defendants’ alleged contamination of the area. [Doc.

   No. 296, ¶1]. Plaintiffs allege, inter alia:

           •       For more than a century, mining companies extracted lead worth billions of
                   dollars from Picher-Cardin and the surrounding area, with deliberate indifference
                   to public health. [Id., ¶2].

           •       The Defendant mining companies were a major source of the contamination
                   deposited in the area. The Defendants traded public health for profit by
                   intentionally, knowingly and systematically exposing individuals to
                   dangerous levels of lead and other heavy metals and hazardous substances.
                   [Id., ¶3].



           1
             Plaintiffs in Evans, et al., v. Asarco Incorporated, et al., Case No. 04-CV-094-GKF-PJC, bring
   similar claims but focus on damages caused by historic mining operations in Quapaw, Oklahoma. Some
   of the same plaintiffs and counsel are involved in both cases. In Evans, upon plaintiffs’ motion and in the
   interest of judicial economy, the case was stayed pending resolution of the class certification motion in
   the instant case. After the court denied class certification, plaintiffs in Evans filed a First Amended
   Complaint, and defendants in that case filed a Motion to Dismiss. The First Amended Complaint, Motion
   to Dismiss, and related briefing in Evans are almost identical to the Third Amended Complaint, Motion to
   Dismiss, and related briefing in the instant case.
                                                       2
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 3 of 18




          •      As a result of Defendants’ actions, on a daily basis residents recreated,
                 attended school and played on school playgrounds, and resided in homes
                 that were suffused with lead and other hazardous contaminants. Adults
                 in the Tar Creek area suffered dangerous exposure to these same toxic
                 substances while they were children and, like the children of today, the
                 adults are also exposed to these poisons on a daily basis. Because of
                 Defendants’ actions and omissions, children and adults are at significant
                 risk of disease. In the wake of their mining activities and corporate
                 practices, Defendants left behind an environmental tragedy. [Id., ¶5].

          •      The area is situated within the Tar Creek Superfund Site, located in
                 the northeastern portion of Ottawa County, Oklahoma (“Ottawa County”).
                 The Site is a former lead and zinc mining area and is currently ranked in
                 the U.S. Environmental Protection Agency (“E.P.A.”) National Priorities
                 List for Uncontrolled Hazardous Waste Sites. The Site first came to the
                 E.P.A.’s attention in 1984 because of acid water discharges from
                 Defendants’ abandoned mining operations. In 1994, E.P.A. identified
                 the potential threat to human health posed by the huge mining company
                 wastes deposited by the Defendant mining companies. [Id., ¶6].

          •      Approximately 50 million tons of lead wastes (i.e. mining tailings) left
                 over from Defendants’ mining operations are present at the Tar Creek
                 Superfund Site. These mine tailings, often referred to as “chat”, were
                 deposited in hundreds of piles and ponds at the site and contain high
                 concentrations of lead and other heavy metals. Some of the tailing
                 piles approach 200 feet in height and are located in the center of
                 Picher-Cardin. [Id., ¶7].

          •      The tragedy does not stop with the health risks presented by Defendants’
                 activities. The extent of contamination is so vast that, even where E.P.A.
                 has attempted remedial action, toxins are still contaminating the properties.
                 Where no cleanup has occurred, toxic waste can be found on property
                 belonging to Plaintiffs. As a result, the value of their properties has been
                 diminished to the point where their properties have practically no value.
                 [Id., ¶9].

          The Third Amended Complaint alleges defendants conducted mining and milling

   operations in the Tar Creek Area as follows: defendant Blue Tee Corp, formerly known as

   American Zinc, Leading and Smelting Company, from 1925 through 1952 [Id., ¶12]; Gold Fields

   Mining, LLC, formerly known as Tri-State Zinc., Inc., from 1927 through 1930 [Id., ¶13]; Doe

   Run Resources Corporation, formerly known as the Kansas Exploration Company, from 1927

                                                  3
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 4 of 18




   through 1949 [Id., ¶14].

          Plaintiffs allege mining of lead and zinc in Ottawa County began in the early 1900's and

   continued until the 1970's. [Id., ¶17]. They contend that, as a result of almost a century of

   extensive mining in Ottawa County, heavy metals and other hazardous substances, including

   lead, are present in hazardous concentrations throughout the county. [Id., ¶16]. The milling of

   ore at the Picher Mining Field produced large quantities of tailings, which were typically

   disposed of next to the mill that produced them. [Id., ¶19]. The coarsest tailings, chat, along

   with the intermingled sand-sized tailings were typically disposed of in a pile on the site by means

   of an elevator or a belt conveyor. [Id.] These chat piles were a waste product of the gravity

   concentration process used by mining companies. [Id.] Another process involved flotation-

   produced finer tailings that were typically pumped into a “tailing pond.” [Id.]. Such a pond

   would evaporate, leaving sediment consisting of these tailings. [Id.] The chat piles had

   commercial uses and were often sold as railroad ballast, concrete, aggregate, and fill for roads.

   [Id., ¶20]. In 1986, the Oklahoma Geological Survey estimated that approximately 70 million

   tons of course tailings remained at the Tar Creek site. [Id., ¶21].

          The Third Amended Complaint cites a study by the Harvard School of Public Health and

   the Department of Geosciences at Wellesley College which states, inter alia, “[a]ctive and

   abandoned metal mining sites are major sources of metal contamination throughout the world,”

   and “[d]iscarded metal-enriched solids are often stored in large piles that act as persistent toxic

   metal sources to surrounding ecosystems and residential areas through wind-borne dispersal of

   fine particles and waterborne transport of dissolved and particulate metals.” [Id., ¶32].

   According to the Third Amended Complaint, the study also stated, “[a]s part of ongoing

   remediation efforts at mining-impacted sites like Tar Creek, accurate geochemical

                                                     4
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 5 of 18




   characterizations of mine waste will be critical for predicting environmental fate and transport of

   metals and for understanding and minimizing important human and ecological exposure

   pathways.” [Id., ¶33].

          The Third Amended Complaint states that the U.S. Department of Housing and Urban

   Development and the E.P.A. noted in a March 1996 regulation:

          Lead affects virtually every system of the body. While it is harmful to individuals
          of all ages, lead exposure can be especially damaging to children, fetuses, and
          women of childbearing age...

   [Id., ¶23] (emphasis in Third Amended Complaint). The Third Amended Complaint also cites a

   1991 U.S. Centers for Disease Control and Prevention determination discussing the adverse

   health effects of lead exposure in children. [Id., ¶29], as well as a 1996 EPA report finding that

   children are particularly at risk from environmental hazards because their systems are still

   developing, they eat proportionately more food, drink more fluids and breathe more air per

   pound of body weight and are outside more than adult and because they are least able to protect

   themselves. [Id., ¶30].

          The Third Amended Complaint asserts defendants’ past, present and/or continuing acts or

   omissions constitute a private nuisance in that defendants used, have used or continue to use

   their property in a manner that:

          •          has resulted in an unreasonable burden on the property interests of Plaintiffs in
                     the form of personal harm, inconvenience, annoyance, and discomfort incidental
                     to their possessory interest in their properties.

          •          has unreasonably interfered with Plaintiffs’ use and enjoyment of their property.

          •          has unreasonably interfered with Plaintiffs’ property interest by diminishing the
                     value of their properties.

   [Id., ¶¶44-46].


                                                      5
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 6 of 18




           The Third Amended Complaint also asserts defendants’ acts or omissions have injured or

   endangered plaintiffs’ comfort, repose, health or safety; and/or rendered plaintiffs insecure in

   their lives or in the use of their property, in violation of 50 Okl.St.Ann. §1.1 et seq. [Id., ¶¶51-

   52].

           With respect to both the common law nuisance and statutory nuisance claims, the Third

   Amended Complaint asserts “[t]he nuisance defendants created is a continuing nuisance in that it

   has continued and remains unabated.” [Id., ¶¶49, 54].

           Plaintiffs seek compensatory damages for diminution or loss of value of their property

   and punitive damages for defendants’ alleged conscious, intentional, willful or reckless disregard

   of their rights. [Id., Prayer for Relief, ¶1].

                                                    II. Analysis

           The court will “assume the truth of the plaintiff's well-pleaded factual allegations and

   view them in the light most favorable to the plaintiff.” Ridge at Red Hawk, L.L.C. v. Schneider,

   493 F.3d 1174, 1177 (10th Cir. 2007) (citing Beedle v. Wilson, 422 F.3d 1059, 1063 (10th Cir.

   2005). In making this determination, the court considers “whether the complaint contains

   ‘enough facts to state a claim to relief that is plausible on its face.’” Id. (quoting Bell Atl. Corp.

   v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1969, 1974 (2007)). A claim is subject to dismissal

   under Rule 12(b)(6) if the factual allegations in the complaint, taken as true, show that the

   plaintiff is not entitled to relief. Jones v. Bock, 549 U.S. 199, 215 (2007).

                           A. Private Nuisance Claim Statute of Limitations

           Where the factual allegations establish that the requested relief is barred by the applicable

   statute of limitations, the claim should be dismissed. See Ballen v. Prudential Bache Securities.,

   Inc., 23 F.3d 335, 336 (10th Cir. 1994); Cotton v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
                                                         6
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 7 of 18




   699 F.Supp. 251, 256 (N.D. Okla. 1988).

           Nuisance claims in Oklahoma are subject to the two-year statute of limitations found in

   12 O.S. §95(A)(3). Moneypenney v. Dawson, 141 P.3d 549, 552 n. 3 (Okla. 2006). Ordinarily,

   the statute of limitations for the filing of a nuisance action begins when the injury is complete.

   Burlington N. & Santa Fe Ry. Co. v. Grant, 505 F.3d 1013, 1028 (10th Cir. 2007) (citing

   Haenchen v. Sand Prods. Co., Inc., 626 P.2d 332, 334 (Okla.Civ.App. 1981)).

           However, the Third Amended Complaint alleges, “[t]he nuisance that Defendants created

   is a continuing nuisance in that it has continued and remains unabated.” [Dkt. # 296, ¶¶ 49, 54].

   Plaintiffs’ claims raises the question of when the statute of limitations begins to run for a

   continuing, abatable or temporary nuisance.2 For guidance the court looks to the Tenth Circuit’s

   opinion in Burlington Northern.3 In that case, Burlington Northern and Santa Fe Railway

   Company (“BNSF”) and Grant owned adjoining properties that were once the location of an oil

   refinery which operated from 1917 to 1932. 505 F.3d at 1018. A tar-like material (“TLM”) was


           2
             In their Response to the Motion to Dismiss, plaintiffs argue, “[i]f the nuisance in this action is
   ultimately proven to be not abatable, i.e., is permanent, then the statute of limitations begins to run at such
   time as it becomes obvious and apparent that the land in question has been permanently damaged.” [Doc.
   No. 306, p. 8]. This issue, they assert, would be a fact question for the jury. [Id.] However, this motion
   must be decided by looking at the complaint itself and determining whether, on its face, the claim is time
   barred. As noted above, plaintiffs allege a continuing nuisance, not a permanent nuisance. In an action for
   continuing nuisance, the statute of limitations is calculated as the two years next preceding the filing of
   the action rather than the time the nuisance was created. Haenchen, 626 P.2d at 334. In such a case,
   “[plaintiff] will not be barred in bringing his action but must limit proof of damages to the two years next
   preceding the filing thereof.” Id. The Third Amended Complaint’s characterization of these claims as
   ones for continuing nuisances thus render plaintiffs’ speculation about whether the nuisance might be
   proven permanent, as well as potential application of the “discovery rule” inapposite.
           3
             The Tenth Circuit’s interpretation of Oklahoma law in the Burlington Northern case is binding
   on all district courts in the circuit. See Wankier v. Crown Equip. Corp., 353 F.3d 862, 866 (10th Cir.
   2003). Plaintiffs cite no Oklahoma state court decisions rendered after the Tenth Circuit’s decision in
   Burlington Northern. Thus, to the extent plaintiffs rely on earlier Oklahoma decisions that are
   inconsistent with Burlington Northern, those cases are not precedential in this circuit. Wankier, 353 F.3d
   at 866.
                                                         7
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 8 of 18




   a waste by-product of the refinery’s operation. BNSF’s property was located immediately east

   and downhill from Grant’s property. BNSF alleged that in the early 1970s, Grant personally

   directed, or had reason to know of, substantial earth moving and construction on his property

   which BNSF contended precipitated the migration of TLM onto its property. BNSF alleged the

   migration of TLM had continued over a period of decades as a result of repeated heat expansion

   occurring each summer. BNSF removed the TLM and disposed of it off-site in July 2001, and

   also constructed a berm on the property line to stop the continued migration of TLM onto its

   property. BNSF then sued Grant, asserting, inter alia, a private nuisance claim and seeking

   damages for unjust enrichment as a result of BNSF’s cleanup activities. At the close of evidence

   in the trial, the district court entered judgment as a matter of law for Grant on the private

   nuisance claim based, in part, on its determination that BNSF failed to identify what costs it had

   expended within the applicable statute of limitations. The Tenth Circuit, applying Oklahoma

   law, concluded damages recoverable for a continuing temporary nuisance such as that alleged by

   BNSF are limited to injuries occurring within a two-year period immediately preceding the

   filing of the lawsuit.4 The court reasoned:

          The statute of limitations for the filing of a nuisance action begins when the
          injury is complete. For a continuing temporary nuisance, such as the nuisance
          alleged by BNSF, the injury is complete upon each alleged invasion, which
          gives rise over and over to [new] causes of action for damages sustained
          within the limitations period immediately prior to suit. Injuries which occur
          outside the two-year look-back period are outside the statute of limitations.

   Id. at 1028-29 (quotations and citations omitted).

          Here, the Third Amended Complaint alleges a continuing nuisance, and refers to at least



          4
           The court cited Branch v. Mobil Oil Corp., 788 F.Supp. 531, 536 (W.D. Okla. 1991); City of
   Bethany v. Municipal Securities Co., 274 P.2d 363, 367 (Okla. 1954); Haenchen, 626 P.2d at 334.
                                                     8
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 9 of 18




   one study that discusses air and water dispersal of toxic wastes from the chat piles and deposits.

   Taking as true the allegations of the complaint, and applying the holding in Burlington Northern,

   it is conceivable plaintiffs could present evidence of damages that occurred from airborne or

   waterborne migrations or invasions of toxins occurring within the two-year period prior to the

   filing of the original complaint on May 14, 2003.5 Any damages from migrations or invasions

   occurring before that period, however, are time-barred. Therefore, defendants’ Motion to

   Dismiss must be granted with respect to any injuries from migrations or invasions which

   occurred outside the two-year look-back period and denied with respect to injuries from

   migrations or invasions occurring within the two-year look-back period.

                                       B. Statutory Nuisance Claim6

           The Third Amended Complaint purports to assert a statutory nuisance claim pursuant to

   50 O.S. §1.1 et seq. [Doc. No. 296, ¶¶50-54].7 Plaintiffs contend in their response to defendants’

   Motion to Dismiss that their statutory claim is one for “public nuisance”8 and, citing 50 O.S. §7,

   they assert there is no statute of limitations on public nuisance claims. Under 50 O.S. §7, “No



           5
           At this stage, the court does not pass judgment on the issue of whether such invasions or
   migrations have occurred within the two-year period.
           6
            In their Response to Defendants’ Motion to Dismiss, plaintiffs stated their intention to file a
   Motion to Sever this claim on behalf of the Cities of Picher and Cardin [Doc. No. 306, p. 9 n. 2].
   Subsequently plaintiffs did file a Motion to Sever [Doc. No. 313]. The court does not herein rule on the
   Motion to Sever. However, as discussed in §II.C. of this order, the Third Amended Complaint fails to
   allege facts establishing the standing of “E A Freeman” to sue on behalf of the City/Town of Picher,
   Oklahoma, and “Herman C McMullan,” Mayor, to sue on behalf of the City/Town Of Cardin.
           7
            This statutory citation appears to be erroneous, as 50 O.S. §1.1 addresses agricultural activities
   as nuisances.
           8
             A “public nuisance” is defined as “one which affects at the same time an entire community or
   neighborhood, or any considerable number of persons, although the extent of the annoyance or damage
   inflicted upon the individuals may be unequal.” 50 O.S. §2.
                                                         9
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 10 of 18




    lapse of time can legalize a public nuisance amounting to an actual obstruction of public right.”

    As a preliminary matter, the court observes that the Third Amended Complaint does not allege

    any “actual obstruction of a public right.” Morever, the Oklahoma Supreme Court has held that

    while 50 O.S. §7 applies to abatement claims, it “does not suspend the operation of the statute of

    limitations on a claim for damages caused by a public nuisance which obstructs a public right for

    as long as the nuisance exists.” Branch v. Mobil Oil Corporation, 788 F.Supp. 531, 536 (Okla.

    1991). Plaintiffs in this case have sought monetary damages but not abatement. Thus, the two-

    year statute of limitations applicable to private nuisance claims is also applicable to claims for

    damages for statutory nuisance. Id. As a result, dismissal of claims for injuries arising before

    the two-year look-back period is appropriate on the statutory nuisance claim.

                                               C. Standing

           The Third Amended Complaint states that individual plaintiffs and their properties are

    identified in a chart attached as Exhibit A. [Doc. No. 296, ¶11]. Exhibit A, in turn, lists named

    plaintiffs and the street addresses of their property. [Doc. No. 296-2, Ex. A]. Defendants assert

    the Third Amended Complaint fails to allege facts establishing that certain of the plaintiffs have

    standing to assert claims.

           The United States Supreme Court has framed the standing issue as follows:

           In essence the question of standing is whether the litigant is entitled to have the
           court decide the merits of the dispute or of particular issues. This inquiry involves
           both constitutional limitations on federal-court jurisdiction and prudential
           limitations on its exercise....

    Warth v. Seldin, 422 U.S. 490, 498 (1975). A plaintiff must allege specific, concrete facts

    demonstrating that the challenged practices harm him and that he personally would benefit in a

    tangible way from the court’s intervention. Id. at 580. In examining a challenge to standing, the

                                                     10
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 11 of 18




    court must accept as true all material allegations of the complaint and must construe the

    complaint in favor of the complaining party. Id. at 502. However, if the allegations of the

    complaint are deficient with respect to standing, the court may allow or require the plaintiff to

    supply, by amendment to the complaint or by affidavits, further particularized allegations of fact

    deemed supportive of plaintiff’s standing. Id. “If, after this opportunity, the plaintiff’s standing

    does not adequately appear from all materials of record, the complaint must be dismissed.” Id.

           Federal Rule of Civil Procedure 17 governs both the determination of a party’s capacity

    to sue and be sued and his or her status as the real party in interest. Esposito v. United States,

    368 F.3d 1271, 1273 (10th Cir. 2004). The “real party in interest” principle requires that an

    action “be brought in the name of the party who possesses the substantive right being asserted

    under the applicable law.” Id. Capacity, by contrast, refers to “a party’s personal right to litigate

    in a federal court.” Id. Under Fed.R.Civ.P. 17(b), issues of capacity are to be determined by the

    law of the individual’s domicile–in this case, Oklahoma. In Oklahoma, the “real party in

    interest” is the party legally entitled to a claim’s proceeds. Aetna Casualty & Surety Co. v.

    Associates Transports, Inc., 512 P.2d 137, 140 (Okla. 1973). The purpose of the real party in

    interest requirement from the defendant’s perspective is to insure that the defendant will not later

    be subjected to a second suit based on the same cause or claim. Boston Ave. Management, Inc. v.

    Associated Resources, Inc., 152 P.3d 880, 887 (Okla. 2007).

           Exhibit A of the Third Amended Complaint lists numerous plaintiffs who purport to sue

    on behalf of businesses, religious groups, governmental entities or other individuals. The exhibit

    does not set forth any factual allegations establishing their standing or capacity to do so.

    Defendants have identified the following categories of plaintiffs whose standing to sue is not

    supported by any factual allegations:
                                                     11
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 12 of 18




        1. Individuals asserting claims for injuries to properties owned by business entities

           A number of individuals purport to bring claims for injuries to properties owned by

    businesses. It is unclear from the face of Exhibit A whether and/or in what capacity those

    individuals have standing to sue on behalf of the businesses. To the extent the businesses are

    corporations, then pursuant to 18 O.S. §1016(2), the corporations must sue in their corporate

    name. See Mainord v. Sharp, 569 P.2d 546, 547-58 (Okla. Civ. App. 1977) (corporation, and not

    individual sole owner of corporation, was real party in interest in action to recover on a debt

    owed to corporation); Centra v. Chandler Ins. Co., 2000 U.S. App. LEXIS 22609 at *30 (10th

    Cir. Sept. 7, 2000) (Where the business or property allegedly interfered with by forbidden

    practices is that being done and carried on by a corporation, it is that corporation alone which

    has a right of recovery, even though in an economic sense, harm may well be sustained by

    others.) Similarly, partnerships and limited liability companies must sue and be sued in their

    own name. 54 O.S. §1-307 and 18 O.S. §2003(1). Banks and trust companies organized under

    Oklahoma law have the power to sue in their corporate name. 6 O.S. §402(3).

           Exhibit A lists the following individuals who purport to sue on behalf of various types of

    business entities:

           •       Richard Adams For Flint Rock Products

           •       Richard Adams For Oklahoma Flint L L P

           •       Richard Adams For RK Flint LLC

           •       Ferrell Alsbury For Alsbury Auto

           •       Ferrell Alsbury For F L A Incorporated

           •       H C Baughman President For First State Bank Of Picher

           •       Larry Bingham President For Bingham Sand and Gravel
                                                    12
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 13 of 18




           •       Harold Cawyer For Picher Youth Soccer Assoc Inc

           •       Charles Ernest Clevenger Pastor For Tri-state Faith Center Inc

           •       Gloria Garner-Workman Secretary For Picher Mining Field Reunion Committee

                   Inc

           •       Wayne Grimes For Leigh Manor

           •       Wayne Grimes For Picher-cardin Girls Softball

           •       Tim Reeves Secretary Treasurer For Picher Firefighters Assn Inc

           •       Deloris A Timms Secretary Treasurer For First Freewill Baptist Church Inc

           The court finds the Third Amended Complaint is deficient in that it fails either to name as

    plaintiffs the corporations or business entities listed above or allege facts establishing the

    individuals’ standing to sue on behalf of those business entities.

          2. Plaintiffs asserting claims for injuries to property owned by deceased persons

           Under Oklahoma law, a decedent’s tort claims may only be advanced by a legally

    appointed representative of the decedent’s estate. See Swearingen v. Bank of Oklahoma, 134

    P.3d 922, 925 (Okla. Civ. App. 2006); 12 O.S. §2025. Exhibit A lists the following individuals

    who assert claims for injuries to property of deceased persons:

           •       Lou Ann Barrett Deceased By Richard Barrett

           •       Wiley Armstrong Deceased By Wanda Armstrong

           •       Pearl Hile Deceased By Louis Hile

           •       Lorena A Laremoare Deceased By Lorena A Brown

           •       Linda Mathis Deceased By Danny Mathis

           •       Arthur D Meador Deceased By Steven D Meador

           •       Clarence Newman Deceased By Judith G Newman
                                                      13
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 14 of 18




           •       Bob Nicholson Deceased By Christopher M Church

           •       Cleo A Red Deceased By Juanita Louise Red

           •       James Reeves Deceased By Marjorie Reeves

           •       Ernest E Starling Deceased By Peggy Ann Starling

           •       Alonza Suman Deceased By Debra Bunce

           •       Deloris Suman Deceased By Debra Bunce

           •       Bob Wood Deceased By Lola Wood

           •       Bob Berry Deceased By (Rep Unknown)

           •       Sam Bunce Deceased By (Rep Unknown)

           •       Mary Inman Deceased By (Rep Unknown)

           •       Charlie Jones Deceased By (Rep Unknown)

           The Third Amended Complaint is deficient to the extent it fails to set forth facts

    establishing these plaintiffs are personal representatives of the estates of the deceased

    individuals.

       3. Individuals suing on behalf of unincorporated associations, churches and religious
                                              societies

           Under Oklahoma law, members of an unincorporated association may maintain a lawsuit

    if it appears that the representative will fairly and adequately protect the interests of the

    association and its members. 12 O.S. §2023.2. An unincorporated church or religious society of

    three or more people may organize and become capable of suing in its own name by signing

    articles with certain information about the church and its qualifications of membership. 18 O.S.

    §562. Exhibit A lists the following individuals who purport to assert claims for injury to

    property owned by unincorporated associations, churches or religious societies:

                                                      14
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 15 of 18




           •       Ernie Redden Director For Freedom From Addiction Through Christ

           •       Louis Hile For IOOF Lodge #596

           •       Lloyd R Stone For Eagle's Nest Fellowship

           •       Robert A Cody For Bethel Freewill Baptist Church

           •       Billie J Crawford For First Baptist Church Of Cardin

           •       Casey Hollingworth Pastor For Church Of Nazarene

           The Third Amended Complaint is deficient in failing to identify the nature of these

    organizations and allege facts establishing the standing of the individuals who purport to act on

    behalf of the organizations.

         4. Individuals suing on behalf of a county, municipality, school district or public
                                             authorities

           “Organized counties” may sue in their own name. 19 O.S. §1(1). Counties shall sue as

    “Board of County Commissioners of the County of _____________.” 19 O.S. §4. Exhibit A

    lists “Russell Earls Chairman County Commissioners For Ottawa County” as a plaintiff in this

    case. [Doc. No. 296-2, Ex. A, p. 27]. This does not comport with Oklahoma law.

           Similarly, incorporated municipalities and school districts have the power to sue in their

    own name. 11 O.S. §22-101(1). See also, Cole, 2009 U.S. Dist. LEXIS 28177 at *27. School

    districts have the power to sue and should do so as “Independent School District No. ___ of

    _______ County, Oklahoma. See Independent School Dist. No. 9 of Tulsa County v. Glass, 639

    P.2d 1233, 1237-38 (Okla. 1982). Here, Exhibit A lists “E A Freeman For City / Town Of

    Picher” and “Herman C McMullan Mayor For City / Town Of Cardin.” This is improper.

    Exhibit A also improperly lists “Don Barr Superintendent For Picher-Cardin School District.”

    The city and school district themselves, rather than individual members of their governing

                                                    15
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 16 of 18




    bodies, must assert their property claims. Cole, 2009 U.S. Dist. LEXIS 28177 at *27 (citing

    Randolph v. Cantrell, 707 P.2d 48, 51 (Okla. Civ. App. 1985)).

            Exhibit A also lists as plaintiffs the following individuals who purport to sue on behalf of

    various development, public works, utility and housing authorities:

            •       E A Freeman For Picher Development Authority

            •       E A Freeman For Picher Development Co

            •       E A Freeman For Picher Public Works Authority

            •       Herman C McMullan For Cardin Special Utility Authority

            •       Tim Reeves Secretary Treasurer For Picher Volunteer Fire Dept And/or City Of

                    Picher

            •       John G Sparkman For Housing Authority Of Picher

            The Third Amended Complaint fails to allege any facts establishing these individuals’

    standing to sue on behalf of the entities named.

                 5. Individuals suing on behalf of other persons for unknown reasons

            Exhibit A lists “John C Carter on behalf of Katherine M Herd” and “Goldie Lillian

    Johnson By Garland L Horn” as plaintiffs. However, it contains no factual allegations

    establishing what, if any, standing John C. Carter has to pursue a claim on behalf of Katherine

    M. Herd, or what, if any, standing Garland L. Horn has to pursue a claim on behalf of Goldie

    Lillian Johnson.9



            9
             The same is true for the plaintiff identified as “Jimmie Koronis By Jeffrey Don Dial,” which was
    not identified in defendants’ Motion to Dismiss. Similarly, Exhibit A lists “L Lester Coppedge For
    Coppedge Family Trust” as a plaintiff, without alleging facts establishing the individual’s standing to
    pursue a claim for the trust. In addition, the plaintiff identified in Exhibit A as “Deborah L Garrett Trust
    By (Rep Unknown)” is without sufficient supporting factual allegations.
                                                        16
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 17 of 18




                                               III. Conclusion

            For the reasons set forth above, defendants’ Motion to Dismiss [Doc. No. 300] is granted

    in part and denied in part. Plaintiffs’ claims for private and public nuisance are dismissed to the

    extent they seek damages for injury to properties occurring before May 14, 2001. Additionally,

    plaintiffs are granted leave to file an amended complaint on or before March 10, 2010, which

    either sets forth facts sufficient to establish the standing and capacity of the following individuals

    to sue, or alternatively substitutes real parties in interest to the claims asserted by these plaintiffs:

    Richard Adams For Flint Rock Products; Richard Adams For Oklahoma Flint L L P; Richard;

    Adams For RK Flint LLC; Ferrell Alsbury For Alsbury Auto; Ferrell Alsbury For F L A

    Incorporated; H C Baughman President For First State Bank Of Picher; Larry Bingham President

    For Bingham Sand and Gravel; Harold Cawyer For Picher Youth Soccer Assoc Inc; Charles

    Ernest Clevenger Pastor For Tri-state Faith Center Inc; Gloria Garner-Workman Secretary For;

    Picher Mining Field Reunion Committee Inc; Wayne Grimes For Leigh Manor; Wayne Grimes

    For Picher-cardin Girls Softball; Tim Reeves Secretary Treasurer For Picher Firefighters Assn

    Inc; Deloris A Timms Secretary Treasurer For First Freewill Baptist Church Inc; Wiley

    Armstrong Deceased By Wanda Armstrong; Pearl Hile Deceased By Louis Hile; Lorena A

    Laremoare Deceased By Lorena A Brown; Linda Mathis Deceased By Danny Mathis; Arthur D

    Meador Deceased By Steven D Meador; Clarence Newman Deceased By Judith G Newman;

    Bob Nicholson Deceased By Christopher M Church; Cleo A Red Deceased By Juanita Louise

    Red; James Reeves Deceased By Marjorie Reeves; Ernest E Starling Deceased By Peggy Ann

    Starling; Alonza Suman Deceased By Debra Bunce; Deloris Suman Deceased By Debra Bunce;

    Bob Wood Deceased By Lola Wood; Bob Berry Deceased By (Rep Unknown); Sam Bunce

    Deceased By (Rep Unknown); Mary Inman Deceased By (Rep Unknown); Charlie Jones
                                                       17
Case 4:03-cv-00327-GKF-PJC Document 320 Filed in USDC ND/OK on 02/24/10 Page 18 of 18




    Deceased By (Rep Unknown); Ernie Redden Director For Freedom From Addiction Through

    Christ; Louis Hile For IOOF Lodge #596; Lloyd R Stone For Eagle's Nest Fellowship; Robert A

    Cody For Bethel Freewill Baptist Church; Billie J Crawford For First Baptist Church Of Cardin;

    Casey Hollingworth Pastor For Church Of Nazarene; Don Barr Superintendent For

    Picher-Cardin School District; Russell Earls Chairman County Commissioners For Ottawa

    County; E A Freeman For City / Town Of Picher; E A Freeman For Picher Development

    Authority; E A Freeman For Picher Development Co; E A Freeman For Picher Public Works

    Authority; Herman C McMullan For Cardin Special Utility Authority; Herman C McMullan

    Mayor For City / Town Of Cardin; Tim Reeves Secretary Treasurer For Picher Volunteer Fire

    Dept And/or City Of Picher; John G Sparkman For Housing Authority Of Picher; John C Carter

    on behalf of Katherine M Herd; Goldie Lillian Johnson By Garland L Horn; Jimmie Koronis By

    Jeffrey Don Dial; L Lester Coppedge For Coppedge Family Trust; Deborah L Garrett Trust By

    (Rep Unknown).

           After March 10, 2010, the court will dismiss the claims of any of the above-listed

    plaintiffs who do not comply with this order.

           ENTERED this 24th day of February, 2010.




                                                    18
